                 Case 4:14-cr-00151-JLH                      Document 325         Filed 06/16/17             Page 1 of 2
AO 2450 (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet I




                             v.                                         (For Revocation of Probation or Supervised Release)

               BRITTANY MITCHELL
                                                                        Case No. 4:14CR00151-05 JLH
                                                                        USM No. 28753-009
                                                                         Latrece Gray
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           _1,_4_,_a_n_d_5_ _ _ _ _ _ of the term of supervision.
D was found in violation of condition(s) count(s)                                   after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                          Violation Ended
1                                 Unlawful possession of a controlled substance                               05/30/2017

4                                 Failure to complete six month term in RRC as ordered                        05/30/2017

5                                 Failure to notify probatiori office of change in residence                  06/01/2017



       The defendant is sentenced as provided in pages 2 through _ _
                                                                   2 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untfl all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes tn
economic crrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9066                     06/16/2017

Defendant's Year of Birth:            1990

City and State of Defendant's Residence:
Jacksonville, Arkansas
                                                                        J. Leon Holmes                              U.S. District Judge
                                                                                               Name and Title of Judge

                                                                        06/16/2017
                                                                                                         Date
                   Case 4:14-cr-00151-JLH                   Document 325       Filed 06/16/17         Page 2 of 2
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations
                       Sheet 2- Imprisonment
                                                                                               Judgment - Page   -=2- of    2
DEFENDANT: BRITTANY MITCHELL
CASE NUMBER: 4:14CR00151-05 JLH


                                                              IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

12 MONTHS and ONE (1) DAY with no term of supervised release to follow




     ii' The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in nonresidential substance abuse treatment during incarceration.
The Court further recommends placement in the FMC Carswell, Texas, facility so as to remain near her family.


     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
         D    at    _ _ _ _ _ _ _ _ _ D a.m.                    D p.m.    on
         D    as notified by the United States Marshal.

     ii' The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         rJ before 2 p.m. on _0_7_1_17_1_20_1_7_ _ _ _ __
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                   to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL


                                                                         By
                                                                                       DEPUTY UNITED STATES MARSHAL
